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                                         UNITED STATES DISTRICT COURT
                                   IN AND FOR THE MIDDLE DISTRICT OF FLORIDA
                                                TAMPA DIVISION

   JASON FOX and CHRISTINA
   FOX,                                                               CASE NO.: 8:16-cv-2665-SDM-JSS

                                Plaintiffs,
   v.

   SAFECO INSURANCE COMPANY
   OF ILLINOIS,

               Defendant.
   ________________________________________/

   PLAINTIFFS’ MOTION TO STRIKE DEFENDANT’S EXHIBITS 72-2 AND 72-3
   FOR FAILURE TO COMPLY WITH COURT ORDER AND FED. R. CIV. P. 36(b)

                 In response to Plaintiffs’ Motion for Summary Judgment on Defendant’s Fourth

   and Seventh Affirmative Defenses (Dkt. 58), which relied in part on Safeco’s responses to

   Plaintiffs’ requests for admissions (see Dkt. 58 at 2–3, 6–7; see also Dkts. 58-2, 58-4),

   Safeco filed exhibits 72-2 and 72-3, which seem to represent what Safeco wishes it would

   have said in response to requests for admissions in this case. Safeco’s Response to

   Plaintiff’s Motion for Summary Judgment was filed on August 1. (Dkt. 72). Safeco’s

   exhibits, as is apparent from the Certificate of Service on those exhibits, were first served

   to Plaintiffs on August 1.1 (Dkts, 72-1–72-3). The discovery deadline in this case was June

   19. (Dkts. 14, 21). Safeco has never moved for an extension of time to complete discovery

   nor did it ask for leave of court to serve discovery supplements outside the discovery

   period. In fact, it was only after Plaintiffs had a telephonic call about this motion to strike


                                                               
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     These responses were in fact first served to Plaintiffs about an hour after Plaintiffs saw them as exhibits to
   this motion.


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   with Safeco’s counsel that Safeco hurriedly filed a “Motion for Leave to Supplement and

   Correct its Discovery Responses.” (Dkt. 74). In that motion, which Safeco contends “is

   authorized by Florida Rule of Civil Procedure 1.190(a)” (Dkt. 74 at 1), Safeco fails to cite

   any cases, fails to identify the correct rule of procedure (Rule 36(b)) that governs its attempt

   to withdraw its admissions, and fails to apply the Perez two-step to the facts at bar. See

   Perez v. Miami-Dade County, 297 F.3d 1255, 1263–64 (11th Cir. 2002).

                 Safeco’s Response (Dkt. 72) relies on “summary judgment evidence” that was

   neither properly served nor filed. It attempts to attack issues long since decided by its own

   admissions. Because these exhibits were all served in violation of this Court’s scheduling

   order (Dkt. 15) and contrary to the Federal Rules of Civil Procedure, Plaintiffs request that

   the Court strike these exhibits.2

                                                                  Memorandum of Law

                 The parties have a duty to “conform to the deadlines proposed in the case

   management report.” (Dkt. 15). Once the Court enters a scheduling order, the parties must

   obey it. Should a party wish to modify the scheduling order, it may only do so “for good

   cause and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). If a party “fails to obey a

   scheduling . . . order . . . the court must order the party, its attorney, or both to pay the

   reasonable expenses—including attorney’s fees—incurred because of any noncompliance

   with this rule, unless the noncompliance was substantially justified or other circumstances

   make an award of expenses unjust.” Fed. R. Civ. P. 16(f).


                                                               
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     The importance of these admissions and the prejudice suffered by Plaintiffs at Safeco’s last-minute attempt
   to change them has been laid out in depth in Plaintiffs’ motions directed at summary judgment. (Dkts. 58,
   69–70). Rather than belabor the point here, Plaintiffs incorporate those motions and argument.


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          District courts “are entitled to broad discretion in managing pretrial discovery

   matters. Perez, 297 F.3d at 1263. “Given the caseload of most district courts . . . district

   courts must have discretion and authority to ensure that their cases move to a reasonably

   timely and orderly conclusion.” Chrysler Int’l Corp. v. Chemaly, 280 F.3d 1358, 1360 (11st

   Cir. 2002). This broad discretion underlies the Court’s authority to set—and enforce—

   deadlines such as the discovery deadline. See id.; Fed. R. Civ. P. 16(b)(4).

          Requests for admissions are of particular importance to orderly progression of

   litigation because they function to narrow and clarify the disputed issues for trial. Perez,

   297 F.3d at 1264 (citing 8A Charles Alan Wright, Arthur R. Miller, & Richard L. Marcus,

   Federal Practice and Procedure § 2252 (2d. ed 1994)). Once the matter is admitted, “Rule

   36(b) provides that it is ‘conclusively established unless the court on motion permits

   withdrawal or amendment of the admission.’” Id.

          Here, Safeco served amended responses to Plaintiffs’ Request for Admissions on

   August 1, 2017—six weeks after this Court’s June 19, 2017 discovery deadline, and only

   because Plaintiffs had cited those admissions in a hostile motion for summary judgment.

   (See Dkt. 72). Dkt. 72-2, styled a “Supplemental and Corrected” response to Plaintiffs’

   Request for Admissions, was filed and served on August 1 without leave of court, and

   changes Safeco’s initial answers—all of which were “Admit”—to “Denied as stated.” (Dkt.

   72-2). Because no motion to withdraw admissions was filed, Dkt. 72-2 ought to be stricken

   as in violation of Rule 36(b) and this Court’s scheduling order.

          Dkt. 72-3, also a “Supplemental and Corrected” response to Plaintiffs’ requests for

   admissions, does not even include Safeco’s original answer, instead substituting a much



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   more particular denial for Safeco’s original nonspecific response, which was “Deny.” (Dkt.

   58-4). The far more specific denial is as a result of Plaintiffs’ Motion for Summary

   Judgment, which claimed that Safeco failed to preserve its “conditions precedent” defense

   for failing to identify it with specificity. (Dkt. 58). Because no motion to amend or

   supplement discovery outside the discovery period was filed until after Plaintiffs conferred

   with Safeco’s counsel about their intent to strike these improperly filed responses, Dkt. 72-

   3 ought to be stricken as in violation of this Court’s scheduling order as well.

          Failure to comply with a court’s scheduling order is grounds for imposing

   sanctions. Fed. R. Civ. P. 16(f). In this case, Safeco has utterly ignored the dictates of the

   Court’s scheduling order by consistently filing and serving discovery outside of this court’s

   deadlines. On July 11, 2017, Safeco filed belated “supplemental initial disclosures,” which

   it then used seven days later in its motions for summary judgment. Then, after Plaintiffs

   took the position that Safeco’s discovery responses worked a waiver of two of Safeco’s

   defenses (Dkt. 58), Safeco blithely submits retractions of its admissions on August 1

   without leave of court, and only files a motion for leave to file amended discovery after

   Plaintiffs’ counsel’s advice that under the law, such a motion is required. Because Plaintiffs

   are now forced to file this motion because of Safeco’s intransigent insistence that it rely on

   improperly served discovery, Safeco lacks substantial justification for its actions and

   sanctions are proper.

          Safeco’s attempt to belatedly change its responses given throughout discovery is

   egregiously prejudicial to Plaintiffs, who are now less than sixty days from trial in this

   matter. But that finding is not even a necessary predicate for this motion, which is much



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   simpler. Safeco attempted to amend requests for admission outside the discovery period

   without leave of court. That is improper. Safeco withdrew admissions without leave of

   court. That is also improper. Therefore, Dkts. 72-2 and 72-3 are not summary judgment

   evidence of the type which this Court can consider. Accordingly, Plaintiffs ask that this

   Court strike Dkts. 72-2 and 72-3 from the court file and not consider them in adjudicating

   Plaintiffs’ Motion for Summary Judgment on Defendant’s Fourth and Seventh Affirmative

   Defenses. (Dkt. 58).

                          LOCAL RULE 3.01(g) CERTIFICATION

          Counsel for Plaintiffs conferred with counsel for Defendant today regarding the

   contents of this Motion. Defendant has not agreed to the relief sought herein.

                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been

   electronically filed and served using this Court’s CM/ECF system on this 4th       day of

   August, 2017 to the attached Service List.

                                                /s/ Brent R. Bigger
                                                Brent R. Bigger, ESQUIRE
                                                Florida Bar No.: 823961
                                                Shane A. Newlands, ESQUIRE
                                                Florida Bar No.:116908
                                                KNOPF BIGGER
                                                511 West Bay Street, Suite 450
                                                Tampa, FL 33606
                                                Phone: (813) 609-2993
                                                Facsimile: (813) 864-6777
                                                Primary Email: brent@knopfbigger.com
                                                Secondary Email: shane@knopfbigger.com
                                                Additional Email: janice@knopfbigger.com
                                                Counsel for Plaintiffs




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                                   SERVICE LIST

   MELISA L. BODNAR, TRIAL COUNSEL
   Florida Bar No. 997234
   Law Office of Glenn G. Gomer
   Meridian One, Suite 900
   4350 West Cypress Street
   Tampa, FL 33609
   Telephone: (813) 868-8127
   Fax Number: (603) 334- 7167
   Primary E-mail (eservice only): TampaLegalMail@libertymutual.com
   Secondary E-mail: Melisa.Bodnar@libertymutual.com
   Attorney for Defendant




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